       Case 1:17-cv-00154-JCG Document 77        Filed 09/07/22   Page 1 of 13




         UNITED STATES COURT OF INTERNATIONAL TRADE


 MIDWEST-CBK, LLC,

       Plaintiff,
                                          Before: Jennifer Choe-Groves, Judge
 v.
                                          Consol. Court No. 17-00154
 UNITED STATES,

       Defendant.


                                     ORDER

      Before the Court is Plaintiff Midwest-CBK, LLC’s Motion to Certify Order

for Interlocutory Appeal. Pl.’s Mot. Cert. Order Interlocutory Appeal (“Plaintiff’s

Motion” or “Pl.’s Mot.”), ECF No. 72. Plaintiff moves pursuant to 28 U.S.C.

§ 1292(d)(1) for the Court to certify for appeal two questions arising from the

Court’s prior opinion, Midwest-CBK, LLC v. United States, 46 CIT __, Slip Op.

22-51, 16 (May 20, 2022):

      1. Whether a post-importation sale, consummated on “[Free on Board
         (“F.O.B.”)], Buffalo, New York” terms, as defined by the New York
         Uniform Commercial Code (“UCC”), may serve as the basis of a
         “sale for exportation to the United States” for purposes of the
         transaction value statute, 19 U.S.C. § 1401a(b)? and
      2. Whether, after U.S. Customs and Border Protection ([“Customs”])
         has received all factual information needed to render its
         appraisement determination, the agency has any discretion to extend
         liquidation of entries pursuant to 19 U.S.C. § 1504(b)?
       Case 1:17-cv-00154-JCG Document 77         Filed 09/07/22   Page 2 of 13

Consol. Court No. 17-00154                                                       Page 2


Pl.’s Mot. at 1. Defendant United States opposes the motion. Def.’s Mem. Law

Opp’n Pl.’s Mot. Certify Order Interlocutory Appeal (“Def.’s Mem.”), ECF No.

76.

      28 U.S.C. § 1292(d)(1) creates a narrow exception to the general rule that

federal appellate jurisdiction arises only from a final judgment of a trial court. See

28 U.S.C. § 1292(d)(1); Usinor Industeel, S.A. v. United States, 26 CIT 813, 813

215 F. Supp. 2d 1356, 1357 (2002). The statute provides that:

      When the chief judge of the Court of International Trade issues an order
      under the provisions of section 256(b) of this title [28 USCS § 256(b)],
      or when any judge of the Court of International Trade, in issuing any
      other interlocutory order, includes in the order a statement that a
      controlling question of law is involved with respect to which there is a
      substantial ground for difference of opinion and that an immediate
      appeal from that order may materially advance the ultimate termination
      of the litigation, the United States Court of Appeals for the Federal
      Circuit may, in its discretion, permit an appeal to be taken from such
      order, if application is made to that Court within ten days after the entry
      of such order.

28 U.S.C. § 1292(d)(1).

      The Court may certify a question for interlocutory appeal when three criteria

are met. The order sought to be appealed must “(1) involve a controlling question

of law (2) with respect to which there is substantial ground for difference of

opinion, and (3) an immediate appeal from the order may materially advance the

ultimate termination of the litigation.” United States v. UPS Customhouse

Brokerage, Inc., 30 CIT 1612, 1618, 464 F. Supp. 2d 1364, 1371 (2006); 28 U.S.C.
       Case 1:17-cv-00154-JCG Document 77         Filed 09/07/22   Page 3 of 13

Consol. Court No. 17-00154                                                     Page 3


§ 1292(d). Each element must be satisfied before the Court will certify a question

for interlocutory appeal. See United States v. Kingshead Corp., 13 CIT 961, 962

(1989).

      I.     Sales for Exportation to the United States

      The first question submitted by Plaintiff is: “[w]hether a post-importation

sale, consummated on ‘F.O.B., Buffalo, New York’ terms, as defined by the New

York Uniform Commercial Code (UCC), may serve as the basis of a ‘sale for

exportation to the United States’ for purposes of the transaction value statute, 19

U.S.C. § 1401a(b)?” Pl.’s Mot. at 1. Plaintiff contends that the “question of

whether ‘F.O.B. Buffalo, New York’ sales as defined under the New York UCC

can qualify as ‘sales for exportation to the United States’ under [19 U.S.C.

§ 1401a(b)]” satisfies the criteria for interlocutory appeal. Pl.’s Br. at 8. The

Court disagrees.

      The first element required for certification of a question for interlocutory

appeal is that the question involves a “controlling question of law.” 28 U.S.C.

§ 1292(d). Whether a sale under particular terms qualifies as a sale “for

exportation to the United States” under 19 U.S.C. § 1401a(b) is not a pure question

of law. Plaintiff presumes that the sales terms chosen by Plaintiff for its domestic

sales are determinative of whether those sales were “for exportation to the United

States.” As the Court noted in its opinion, the determination of whether a
       Case 1:17-cv-00154-JCG Document 77          Filed 09/07/22   Page 4 of 13

Consol. Court No. 17-00154                                                         Page 4


particular sale is “for exportation to the United States” is based on a fact-specific

inquiry and case-by-case analysis. Midwest-CBK, LLC, 46 CIT at __, Slip Op.

22-51, 16 (May 20, 2022) (citing E.C. McAfee Co. v. United States, 842 F.2d 314,

319 (Fed. Cir. 1988)). Whether a sale is “for exportation to the United States” is

not solely dependent on where title passes from the seller to the buyer or where

goods are delivered, but on the reality of the transaction in its entirety. E.C.

McAfee Co., 842 F.2d at 319. A “question of law” must be the crux of the issue

on interlocutory appeal in such a way that the appellate court can “decide quickly

and cleanly [the question] without having to study the record.” UPS Customhouse

Brokerage, Inc., 30 CIT at 1618, 464 F. Supp. 2d at 1371 (quoting Ahrenholz v.

Bd. of Tr. of Univ. of Illinois, 219 F.3d 674, 677 (7th Cir. 2000)). Because the

question presented is not purely a question of law and would require the appellate

court to review the facts of the case, the first element of interlocutory appeal is not

satisfied.

       The second element required for certification of a question for interlocutory

appeal is that there exists a “substantial ground for difference of opinion.” 28

U.S.C. § 1292(d). Plaintiff contends that the Court’s opinion broke with

established precedent following Orbisphere Corporation v. United States

(“Orbisphere”), 13 CIT 866, 726 F. Supp. 1344 (1989). Pl.’s Br. at 3, 8–9. As

Plaintiff concedes, Orbisphere is not binding precedent. Id. at 3. This Court noted
       Case 1:17-cv-00154-JCG Document 77            Filed 09/07/22   Page 5 of 13

Consol. Court No. 17-00154                                                       Page 5


in its opinion that the relevant analysis in Orbisphere relied on United States v.

Massce & Company, 21 CCPA 54 (1933), which was decided under an outdated

version of the valuation statute. Midwest-CBK, LLC, 46 CIT at __, Slip Op. 22-51

at 18–21. In doing so, the Orbisphere court failed to appreciate that the Trade

Agreements Act of 1979, Pub. L. No. 96-39, § 201(a), 93 Stat. 144, 194–201

(1979), amended the valuation statute to eliminate references to foreign markets

and the requirement that sales be international or occur abroad. Id. at 20–21. This

statutory amendment has been recognized by the U.S. Court of Appeals for the

Federal Circuit. See Generra Sportswear Co. v. United States, 905 F.2d 377, 381

(Fed. Cir. 1990); see also VWP of Am., Inc. v. United States (“VWP of America

II”), 175 F.3d 1327, 1334–35 (Fed. Cir. 1999) (recognizing the difference between

“export value” and “transaction value” and that the Trade Agreement Act of 1979

effectively repealed the prior valuation statute).

      Plaintiff cites four cases in support of its position that Orbisphere has been

accepted as good law: VWP of America v. United States (“VWP of America I”),

21 CIT 1109, 980 F. Supp. 1280 (1997), La Perla Fashions v. United States, 22

CIT 393, 9 F. Supp. 2d 698 (1998), Synergy Sports International v. United States,

17 CIT 18 (1993), and Deringer v. United States, 1994 Ct. Intl. Trade LEXIS 74

(Mar. 23, 1994). Pl.’s Br. at 3. None of these cases suggest a difference of opinion

with the Court’s ruling.
       Case 1:17-cv-00154-JCG Document 77        Filed 09/07/22   Page 6 of 13

Consol. Court No. 17-00154                                                     Page 6


      In VWP of America I and La Perla Fashions, the plaintiffs cited to

Orbisphere and Massce in arguing that sales between United States entities cannot

qualify as sales “for exportation to the United States.” VWP of America I, 21 CIT

at 1115–16, 980 F. Supp. at 1287; La Perla Fashions, 22 CIT at 399, 9 F. Supp. 2d

at 703–04. In neither case did the U.S. Court of International Trade expressly

accept this argument, finding in both instances that sales between the foreign

manufacturer and United States subsidiary were not bona fide sales. VWP of

America I, 21 CIT at 1115–16, 980 F. Supp. at 1287; La Perla Fashions, 22 CIT at

399, 9 F. Supp. 2d at 703–04. In La Perla Fashions, the U.S. Court of International

Trade held that transaction value could only be based on the transactions between

the United States subsidiary and its United States customers. La Perla Fashions, 22

CIT at 399, 9 F. Supp. 2d at 703–04. Similarly, in reviewing VWP of America I

on appeal, the U.S. Court of Appeals for the Federal Circuit noted that if the

transaction between the foreign manufacturer and the United States subsidiary

could not serve as the basis for transaction value, the sales between two United

States entities could be used in the alternative. VWP of America II, 175 F.3d

1327, 1334 (Fed. Cir. 1999).

      Synergy Sport International, Ltd. also fails to provide support for Plaintiff’s

contention that Orbisphere has been accepted as good law. The only reference in

Synergy Sport International, Ltd. to Orbisphere is a citation supporting the
       Case 1:17-cv-00154-JCG Document 77         Filed 09/07/22   Page 7 of 13

Consol. Court No. 17-00154                                                     Page 7


standard of review. Synergy Sport Int’l., Ltd., 17 CIT at 19 (1993). The case does

not reach the question of whether a sale between two United States entities can

qualify as a sale “for exportation to the United States.” Id. at 21. Deringer also

provides little support for Plaintiff’s contention. Deringer was resolved through a

stipulated judgment. Deringer, 1994 Ct. Intl. Trade LEXIS 74 (Mar. 23, 1994).

The opinion’s discussion of Orbisphere is limited to one sentence in which the

parties agreed that the subject merchandise should be appraised based on its

deductive value because it was “the same in all material respects as the

merchandise” that was the subject of Orbisphere. Id. at *2. These cases do not

demonstrate an existing pattern of any court rejecting the 1979 statutory

amendment and instead applying Orbisphere for the proposition that sales “for

exportation to the United States” require an international sale.

      Plaintiff also argues that a ground for a difference of opinion exists in the

Court’s treatment of commercial shipping terms. Pl.’s Br. at 9. In its opinion, the

Court identified several cases in which the U.S. Court of Appeals for the Federal

Circuit held that the transfer of title under F.O.B. shipping terms was not

dispositive of where a sale occurred. Midwest-CBK, LLC, 46 CIT at __, Slip Op.

22-51 at 12–23. Plaintiff contends that the cases cited by the Court relied on

INCOTERMS, which govern only transfer of possession and not transfer of title,

and that the term relevant to the subject transactions was F.O.B. as defined under
       Case 1:17-cv-00154-JCG Document 77         Filed 09/07/22   Page 8 of 13

Consol. Court No. 17-00154                                                      Page 8


the New York UCC, which does provide that title is transferred at the time of

delivery. Pl.’s Br. at 8. The Court notes that none of the cases cited in the opinion

include a discussion of whether the F.O.B. terms in the relevant contracts were

defined by the INCOTERMS or another code but three of the cases do articulate a

definition of F.O.B. including the transfer of legal title at the place of delivery. See

SEB S.A. v. Montgomery Ward & Co., Inc., 594 F.3d 1360, 1366–67 (Fed. Cir.

2010), MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp., 420 F.3d

1369, 1374 n.3 (Fed. Cir. 2005), N. Am. Philips Corp. v. Am. Vending Sales, Inc.,

35 F.3d 1576, 1578 n.2 (Fed. Cir. 1994) (citing U.C.C. § 2-319(1)). Even if there

was ground for disagreement as to whether the commercial terms of Plaintiff’s

contracts determined the place of sale, the disagreement is not dispositive of

whether the sales were “for exportation to the United States.” As noted above,

whether a sale is “for exportation to the United States” is a fact-specific inquiry

that examines the “reality of the transaction” in its entirety. E.C. McAfee Co., 842

F.2d at 319. The relevant question for the Court is whether the goods were

destined for the United States at the time of sale based on an analysis of the facts

alleged in the case. Id.

      The third element required for certification of a question for interlocutory

appeal is that the immediate appeal “may materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(d). Plaintiff contends that the
       Case 1:17-cv-00154-JCG Document 77          Filed 09/07/22   Page 9 of 13

Consol. Court No. 17-00154                                                      Page 9


definitive resolution of whether its sales qualify as “sales for exportation to the

United States” would advance Phase II of the litigation, which concerns

determination of the duties owed. Pl.’s Br. at 9–10. Interlocutory appeals are

appropriate only when they may avoid protracted and expensive litigation and the

party seeking the appeal must support its claim that these goals would be satisfied.

See Marsuda-Rodgers Int’l v. United States, 13 CIT 886, 887 (1989). The issue

remaining to be resolved in this case is the calculation of duties owed. See Order

(May 10, 2021) (“Bifurcation Order”), ECF No. 52. Upon resolution of Phase II,

Plaintiff may file an appeal after a final judgment is rendered. The Court is not

persuaded that litigation of an interlocutory appeal would ultimately result in a

more efficient resolution of this matter. Because Plaintiff has not demonstrated the

required elements, certification of Plaintiff’s first question for interlocutory appeal

is denied.

      II.    Liquidation as a Matter of Law

      The second question presented by Plaintiff is: “[w]hether, after [Customs]

has received all factual information needed to render its appraisement

determination, the agency has any discretion to extend liquidation of entries

pursuant to 19 U.S.C. § 1504(b)?” Pl.’s Mot. at 1. The Court first considers

whether this is a pure question of law. A pure question of law involves the

“meaning of a statutory provision, regulation, or common law doctrine.” UPS
      Case 1:17-cv-00154-JCG Document 77         Filed 09/07/22   Page 10 of 13

Consol. Court No. 17-00154                                                    Page 10


Customhouse Brokerage, Inc., 30 CIT at 1618, 464 F. Supp. 2d at 1371 (citing

Alrenholz, 219 F.3d at 676). The question is controlling when it is “serious to the

conduct of the litigation, either practically or legally.” Id. at 1619, 464 F. Supp. 2d

at 1371 (quoting Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir. 1974)).

Defendant argues that Plaintiff’s presented question is not a pure question of law

because “[a]pplication of section 1504(b) is a discretionary decision by [Customs],

which requires the Court to consider the facts and determine whether [Customs]

abused its discretion in extending the liquidation period.” Def.’s Mem. at 17.

Defendant asserts that “information” is defined as “whatever is reasonably

necessary for proper assessment by [Customs].” Id. Plaintiff’s question involves a

factual inquiry by the Court into whether Customs had all of the information

necessary to reach an appraisement determination and whether Customs abused its

discretion in granting the extensions under the statute. The question of whether

Customs abused its discretion under 19 U.S.C. § 1504(b) is a factual question.

      The second element required for certification of a question for interlocutory

appeal is that there exists a “substantial ground for difference of opinion.” 28

U.S.C. § 1292(d). 19 U.S.C. § 1504(b)(1) provides that liquidation may be

extended if “information needed for the proper appraisement or classification of

the imported or withdrawn merchandise, or for determining the correct drawback

amount, or for ensuring compliance with applicable law, is not available to
      Case 1:17-cv-00154-JCG Document 77          Filed 09/07/22   Page 11 of 13

Consol. Court No. 17-00154                                                    Page 11


[Customs].” 19 U.S.C. § 1504(b)(1). Plaintiff contends that there is a ground for a

difference of opinion as to whether Customs has authority to extend liquidation

after it has been provided with all factual information. Pl.’s Mot. at 1; Pl.’s Br. at

3–4, 10–11.

      The Court has recognized that “[section] 1504(b)(1) should be construed

sufficiently broadly for Customs to perform its obligations in a competent

manner.” Int’l Cargo & Sur. Ins. Co. v. United States, 15 CIT 541, 546, 779 F.

Supp.174, 179 (1991). This includes reading the word “information” under 19

U.S.C. § 1504(b) to encompass “whatever is reasonably necessary for proper

appraisement or classification of the merchandise involved.” Detroit Zoological

Soc. v. United States, 10 CIT 133, 138, 630 F. Supp. 1350, 1356 (1991). The only

case offered by Plaintiff in support of its position is Ford Motor Company v.

United States (“Ford Motor”), 157 F.3d 849, 854–57 (Fed. Cir. 1999), in which the

U.S. Court of Appeals for the Federal Circuit held that an extension of liquidation

to accommodate unreasonable delays in an investigation could show an abuse of

discretion by Customs. Pl.’s Br. at 11. Ford Motor is easily distinguishable from

the case before the Court because it involved extensions to accommodate

prolonged periods of inaction and an investigation that was potentially unrelated to

liquidation. See Ford Motor, 157 F.3d at 855. In the Ford Motor decision, the

U.S. Court of Appeals for the Federal Circuit acknowledged that 19 U.S.C.
      Case 1:17-cv-00154-JCG Document 77          Filed 09/07/22   Page 12 of 13

Consol. Court No. 17-00154                                                     Page 12


§ 1504(b)(1) might be satisfied if additional information is needed from a source

internal to Customs. Id. at 856. By contrast, this case involves Customs extending

liquidation in order to complete the audit process and obtain information that

Customs claims was needed for the audit. Because 19 U.S.C. § 1504(b)(1) permits

Customs to extend the liquidation of entries when additional information is

required and such information is not limited to factual information provided by the

parties to the investigation, there is not a substantial ground for difference of

opinion as to whether Customs can extend liquidation to complete its internal

process.

      The third element required for certification of a question for interlocutory

appeal is that the immediate appeal “may materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(d). Plaintiff contends that

resolution of whether liquidation of certain entries was improperly extended would

materially advance the termination of this action. Pl.’s Br. at 11. As the Court

noted above, there are few issues remaining to be resolved in this case and

interlocutory appeal is not likely to result in a more efficient resolution of the

dispute. See Marsuda-Rodgers Int’l, 13 CIT at 887. Because Plaintiff has not

satisfied the required elements, interlocutory appeal of Plaintiff’s second question

is denied.
      Case 1:17-cv-00154-JCG Document 77           Filed 09/07/22   Page 13 of 13

Consol. Court No. 17-00154                                                    Page 13


      Upon consideration of Plaintiff’s Motion to Certify Order for Interlocutory

Appeal, and all other papers and proceedings in this action, it is hereby

      ORDERED that Plaintiff’s Motion to Certify Order for Interlocutory

Appeal, ECF No. 72, is denied; and it is further

      ORDERED that the Parties are to confer and submit to the Court a joint

proposed scheduling order reflecting reasonable discovery and motions filing

deadlines for Phase II of this case by no later than October 7, 2022.


                                                         /s/ Jennifer Choe-Groves
                                                        Jennifer Choe-Groves, Judge

Dated:     September 7, 2022
         New York, New York
